Filed 8/27/24 P. v. Casio CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE


THE PEOPLE,                                                      B330780

          Plaintiff and Respondent,                             (Los Angeles County
                                                                Super. Ct. No. GA076492)
          v.

VINCENT ROBERT CASIO,

          Defendant and Appellant.


      APPEAL from a postjudgment order of the Superior Court
of Los Angeles County, Jared D. Moses, Judge. Reversed and
remanded with directions.
      Vincent Robert Casio, in pro. per.; and Ava R. Stralla,
under appointment by the Court of Appeal for Defendant and
Appellant.
      No appearance for Plaintiff and Respondent.

                              ___________________________
       Defendant Vincent Robert Casio (defendant) appeals from
the trial court’s order denying his petition for resentencing under
Penal Code section 1172.6 (former 1170.95).1 Defendant’s
appointed appellate counsel found no arguable issues and filed a
brief under People v. Delgadillo (2022) 14 Cal.5th 216(Delgadillo). Defendant filed his own supplemental brief arguing
that the trial court erred in failing to appoint counsel upon
defendant’s filing of a facially sufficient resentencing petition
under section 1172.6, and that the court engaged in improper
factfinding and weighing of the evidence at the prima facie stage.
       On June 14, 2024, we issued an order observing that the
“jury appears to have been instructed on the doctrine of natural
and probable consequences,” and directing the parties to brief
“whether the portions of the prior record the court may consider
at the prima facie [stage] establish, as a matter of law, that
[defendant] acted with actual malice in the commission of the
crimes of attempted murder, such that the denial of his petition
without the appointment of counsel constituted harmless error.”
       In response to this court’s order, counsel for defendant filed
a letter brief arguing that the trial court’s failure to appoint
counsel constituted harmful error because the record of
conviction leaves open the possibility that defendant was
convicted of attempted murder under the natural and probable
consequences doctrine.2 The People filed no brief in response to

1     All statutory references are to the Penal Code.

2     We grant defendant’s contemporaneously filed motion to
augment the record with the jury instructions and verdict forms,
as well as his request for judicial notice of People v. Martinez
(Oct. 3, 2013, B242591) [nonpub. opn.]. (See People v. Blount




                                  2
this court’s order. We agree that the trial court committed
prejudicial error when it denied his petition without appointing
counsel. We therefore reverse and remand for further
proceedings consistent with this opinion.
             FACTS AND PROCEDURAL HISTORY
I.     Defendant’s Trial and Conviction
       In 2010, the People charged defendant and Sean Martinez
each with two counts murder (§ 187, subd. (a)), three counts
attempted murder (§§ 187, subd. (a), 664), two counts false
imprisonment (§ 236), and one count being a felon in possession
of a firearm (§ 12021, subd. (a)(1)). The People further alleged
various enhancements and special circumstances. Defendant and
Martinez were tried together by jury but sentenced separately.
(People v. Casio (March 12, 2013, B239547) [nonpub. opn.].)
       In 2011, the jury convicted defendant of two counts first
degree murder (§ 187, subd. (a)), three counts attempted murder
(§§ 187, subd. (a), 664), and one count felon in possession
(§ 12021, subd. (a)(1)). As to the murder counts, the jury found
true the multiple murder special circumstance (§ 190.2, subd.
(a)(3)) and firearm enhancements (§ 12022.53, subds. (b)
[personal use], (c) [personal and intentional discharge], (d)
[personal and intentional discharge causing great bodily injury]),
and that defendant was an active participant in a gang who
carried out the murder in furtherance of gang activity (§ 190.2,

(2009) 175 Cal.App.4th 992, 995, fn. 2 [granting an unopposed
request for judicial notice of the opinion in a codefendant’s
appeal].) We note (as defendant did) that the opinion in
Martinez’s appeal is not part of defendant’s record of conviction
and cannot be relied upon in determining whether defendant has
stated a prima facie case. (People v. Flores (2022) 76 Cal.App.5th
974, 988.)




                                3
subd. (a)(22)). As to the other counts (attempted murder and
felon in possession), the jury found true allegations that
defendant committed the offenses in connection with a gang
(§ 186.22, subd. (b)(1)).
       The trial court sentenced defendant to 145 years to life in
state prison, plus two life terms without the possibility of parole,
plus four life terms with the possibility of parole, with defendant
to serve at least 15 years each on those four life terms.
       Defendant’s judgment of conviction was affirmed on direct
appeal. (People v. Casio, supra, B239547.)
II.    Proceedings Under Section 1172.6
       On May 15, 2023, defendant filed a petition for
resentencing under section 1172.6, checking the boxes on the
form petition to allege his eligibility for relief and requesting that
the trial court appoint counsel.
       On May 23, 2023, without appointing counsel, entertaining
briefing, or holding a hearing, the trial court issued a ruling
stating that it had “reviewed the record of conviction in this
matter, including minute orders, abstracts of judgment, verdict
forms and jury instructions. [Defendant] was the shooter in a
gang motivated shooting that left two people dead. A jury
convicted [defendant] of two counts of first degree murder, four
counts of willful, deliberate and premediated attempted murder
and one count of felon with a firearm. As to the murder counts,
the jury found multiple special circumstances to be true. As to all
murder and attempted murder counts, the jury found (1) that
[defendant] personally and intentionally discharged a firearm
and (2) that the crimes were committed for the benefit of a
criminal street gang. The jury was not instructed on felony
murder or the doctrine of natural and probable consequences. [¶]




                                  4
This court finds that [defendant] has failed to make a prima facie
showing that he is entitled to relief under section 1172.6. The
record of conviction clearly establishes that [he is] ineligible for
relief as a matter of law. The [p]etition is summarily denied.”
(Italics added.)
                            DISCUSSION
       Defendant argues that the trial court prejudicially erred
when it denied his facially sufficient petition without appointing
counsel and that it engaged in improper factfinding and in
weighing of the evidence at the prima facie stage.3 We
independently review the summary denial of his resentencing
petition. (People v. Beaudreaux (2024) 100 Cal.App.5th 1227,
1238-1239 (Beaudreaux).)
I.     Section 1172.6
       In 2018, our Legislature amended the definition of
“murder” in our State to preclude a jury from “imput[ing]” the
“malice” element of that crime “based solely on [a defendant’s]
participation in a crime.” (§ 188, subd. (a)(3).) Our Legislature’s
purpose was to ensure that “[a] person’s culpability for murder
[is] premised upon that person’s own actions and subjective mens
rea.” (Stats. 2018, ch. 1015, § 1(g).) As amended, liability for
murder is limited to persons (1) who are the actual killer, (2) who
aided and abetted the actual killer in the murder (that is, who
acted with the intent to kill), or (3) who were a major participant
in the underlying felony that resulted in the killing, but only if
they also acted with reckless indifference to human life. (§§ 188,
subd. (a)(3), 189, subd. (e); e.g., People v. Johns (2020) 50
Cal.App.5th 46, 58-59.)

3    We limit our review to the issues raised in defendant’s
supplemental brief. (Delgadillo, supra, 14 Cal.5th at p. 232.)




                                 5
       Section 1172.6 is the procedural vehicle by which persons
convicted of murder in now-final judgments can seek to vacate
convictions that do not satisfy the new definition of “murder.”
Where, as here, a defendant files a facially sufficient petition, the
trial court “must (1) appoint counsel for the petitioner if
requested, (2) allow the People to file a response to the petition
and allow the petitioner to file a reply, and (3) determine whether
the petitioner has made a prima facie case for eligibility or
entitlement to relief.” (People v. Enyon (2021) 68 Cal.App.5th
967, 974, citing People v. Lewis (2021) 11 Cal.5th 952,. 960, 962-
965 (Lewis).) If the record does not otherwise foreclose relief as a
matter of law, the trial court must issue an order to show cause
and convene an evidentiary hearing. (§ 1172.6, subd. (c).) At the
hearing, the People have the burden of proving to the trial court,
as an independent factfinder, that defendant is guilty of murder
under a still-valid theory. (§ 1172.6, subd. (d)(3).) The parties
have the option of introducing “new or additional” evidence, or
they may choose to rely on the record of the prior proceedings.
(Ibid.)
II.    The Trial Court’s Error in Failing to Appoint
       Counsel Was Not Harmless
       We agree that the trial court erred in failing to appoint
counsel or receive briefing before determining whether defendant
had made a prima facie showing. (Lewis, supra, 11 Cal.5th at
p. 970.) Applying the test for prejudice under People v. Watson
(1956) 46 Cal.2d 818 (Lewis, at p. 973; Beaudreaux, supra, 100
Cal.App.5th at p. 1239), we conclude that this error was not
harmless because “ ‘ “it is reasonably probable that if [he] had
been afforded assistance of counsel his . . . petition would not
have been summarily denied without an evidentiary hearing.” ’ ”




                                  6
(Lewis, at p. 974, quoting People v. Daniel (2020) 57 Cal.App.5th
666, 676.)
       The jury instructions include a natural and probable
consequences instruction that applies to the murder and
attempted murder counts in the information, which appears to
contradict the trial court’s assertion that the jury did not receive
such an instruction. We conclude that had the trial court
followed the statutory procedure of appointing counsel and
receiving briefing, there was a reasonable probability it would
find defendant made a prima facie case for relief.
                           DISPOSITION
       The trial court’s order summarily denying defendant’s
petition is reversed and the matter is remanded with directions
to appoint counsel for defendant and thereafter proceed as
required by section 1172.6, subdivisions (c) and (d).




                                            DAVIS, J. *
WE CONCUR:



            BAKER, Acting P. J.




            KIM, J.

*     Judge of the Los Angeles Superior Court, assigned by the
Chief Justice pursuant to Article VI, section 6 of the California
Constitution.




                                  7
